FILED DATE: 12/26/2018 1:09 PM 2018L013857

Case: 1:19-cv-01392 Document #: 1-2 Filed: 02/26/19 Page 1 of 5 PagelD #:6
12-Person Jury

FILED

12/26/2018 1:09 PM
DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, IL

ATTORNEY CODE # 04771
STATE OF ILLINOIS )

) SS:
COUNTY OF COOK )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

CATHAY SLIWA )
)
Plaintiff )
)
g. ) NO. 2018L013857
)
WALMART INC; )
)
)
Defendants )
COMPLAINT AT LAW

 

NOW COMES the Plaintiff, CATHAY SLIWA, by her attorneys HORWITZ, HORWITZ AND

ASSOCIATES, LTD., and complaining of the Defendant Walmart, Inc, alleges as follows:

1. That on or about January 2, 2017, and prior thereto, the Defendant(s) owned, possessed,
managed, maintained, constructed, installed and controlled and/or had duty to possess,
operate, manage, maintain, construct, install and control, both directly and indirectly,
individually and through their agents, servants and employees, certain premises that included
a certain Matt/Rug located at approximately Wal mart at the Hall Plaza 4626 W. Diversey, in
the City of Chicago, County of Cook and State of Illinois.

2. That at aforesaid time and place, Plaintiff Cathay Sliwa was a customer at the store.

4, That the aforesaid Defendant(s) had a duty to exercise reasonable care for the safety of the

Plaintiff.

~ DEFENDANT'S

ES

 
FILED DATE: 12/26/2018 1:09 PM = 2018L013857

Case: 1:19-cv-01392 Document #: 1-2 Filed: 02/26/19 Page 2 of 5 PagelD #:7

. That the aforesaid Defendant(s} were then and there guilty of one or more of the following

acts and/or omissions:

a) Failed to provide a safe rug/matt.

b) Failed to properly maintain the rug/matt.

c) Failed to adequately inspect the rug/matt.

d) Failed to make the matt/rug level.

e) Fatled to adequately straighten the rug/matt.

f) Failed to warn to prevent each of the aforementioned.

h) Failed to correct each of the aforementioned.

i) Failed to adequately train prevent the aforementioned.

j) Failed to have an adequate policy to prevent the aforementioned.
k) Failed to adequately preplan to prevent the aforementioned.

1) Failed to provide adequate protocol and/or job site rules.

. That at said time and place, Plaintiff fell due to said Matt/Rug.

That one or more of the aforesaid acts or omissions constituting legal misconduct of the
Defendant(s) was a proximate cause of said occurrence and Plaintiff(s) personal injuries as

hereinafter mentioned.

. That as a direct and proximate result of one or more of the aforesaid acts and/or omissions of

the Defendant(s), the Plaintiff then and there sustained severe and permanent injuries, both
internally and externally, and was and will be in the future hindered and prevented in whole
or in part from attending to usual duties and affairs, and has lost and in the future will lose,

the value of that time, and has suffered a loss of earning capacity, as aforementioned.
FILED DATE: 12/26/2018 1:09 PM 2018L013857

Case: 1:19-cv-01392 Document #: 1-2 Filed: 02/26/19 Page 3 of 5 PagelD #:8

Further, that the Plaintiff also suffered great pain and anguish both tn mind and body, and
will in the future continue to so suffer; the Plaintiff further expended and became liable for
and will in the future expend and become liable for large sums of money for medical care
and services endeavoring to become healed and cured of said injuries.
WHEREFORE, the Plaintiff(s) demand judgment against the Defendant(s) in a dollar amount to
satisfy the jurisdictional limitation of this court, and in such additional amounts as the Court shall

deem proper, plus the costs of this action.

/s/ Clifford W. Horwitz

 

Clifford W. Horwitz

Horwitz, Horwitz, and Associates, LTD.
25 E. Washington, Suite 900

Chicago, IL 60602

Office: (312) 372-8822

Email: clmail@horwitzlaw,com

 
FILED DATE: 12/26/2018 4:09 PM = 2018L013857

Case: 1:19-cv-01392 Document #: 1-2 Filed: 02/26/19 Page 4 of 5 PagelD #:9

30257

STATE GF ILLINOIS )
)SS: 1296/2018 1:00 PM
COUNTY OF COOK ) DOROTHY BROWN

CIRCUIT CLERK
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS COOK COUNTY, IL

COUNTY DEPARTMENT, LAW DIVISION 2018013857

CATHAY SLIWA )
)
Plaintiff )
)

v. ) No. 2018L013857
}
WALMART, INC }
}
}
)
Defendants )}
)

SUPREME, COURT RULE 222(b) AFFIDAVIT
1. The undersigned, Clifford Horwitz, does hereby state under oath and under penalty of
perjury:
2. My name is Clifford Horwitz
3. represent the Plaintiff in the above-captioned case.
4. | have conducted an investigation into this case.
5. The Plaintiff is seeking damages in excess of $50,000.00
6. FURTHER AFFIANT SAYETH NOT

/s/Clifford W. Horwitz

 

HORWITZ, HORWITZ AND ASSOCIATES, LTD.
Attorneys at Law

25 E. Washington, Suite 900

Chicago, I!linois 60602

(312) 372-8822, fax (312) 372-1673
FILED DATE: 12/26/2018 1:09 PM 2018L013857

Case: 1:19-cv-01392 Document #: 1-2 Filed: 02/26/19 Page 5 of 5 PagelD #:10

30257

STATE OF ILLINOIS )
) SS: FILED
COUNTY OF COOK ) 12/26/2018 1:09 PM

DOROTHY BROWN
CIRCUIT CLERK

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS COOK COUNTY. IL

COUNTY DEPARTMENT, LAW DIVISION 2018L013857

CATHAY SLIWA )
)
Plaintiff )
)

y ) NO. 2018L013857
)
WALMART, INC )
)
)
)
Defendants )
)

JURY DEMAND

The undersigned demands a jury trial.

/s Clifford W. Horwitz

 

Clifford W. Horwitz

Horwitz, Horwitz, and Associates, LTD.
25 E. Washington, Suite 900

Chicago, IL 60602

Office: (312) 372-8822

Email: clmatl@horwitzlaw.com
